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      ""'AO 2458 (CASD) (Rev, 1112)   Judgment in a Criminal Case
                Sheet I



                                                UNITED STATES DISTRICT CouIti                                          OSI!fit}\ 10:,51.               1

                                                    SOUTHERN DISTRICT OF CALIFORNIA
                      UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE                                OEi'UT'f
                                          v.                                         (For Offenses Committed On or After November I, 1987)

                             UUCES LOPEZ (35)                                        Case Number: 12CR0236-IEG
                                                                                     VICTOR TORRES
                                                                                     Defendant's Attorney
     REGISTRATION NO. 30286298

     o
     THE DEFENDANT:
     181 pleaded guilty to count(s) ONE AND TWO OF THE SUPERSEDING INFORMATION
     D~~~~I~oom~~~                              _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

            after a plea of not guilty.
            Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
     Title & Section                           Nature of Offense                                                                            Number(s)
18: I 962(d)                             Conspiracy to Conduct Enterprise Affairs Through a Pattern of Racketeering                             1
                                         Activity
21 :841(a)(I) and 846                    Conspiracy to Distribute Controlled Substances                                                            2




         The detendant is sentenced as provided in pages 2 through               4          of this judgment. The sentence is imposed pursuant
  o
  to the Sentencing Reform Act of 1984.
       The defendant has been found not guilty on count(s)

  181 Count(s) UNDERLYING INDICTMENTS                   -------------------------------------------­
                                                                         is 181 areD dismissed on the motion of the United States.
  181 Assessment: $100.00 as to count 1 and $100.00 waived as to count 2

  [8J Fine waived                                     0 Forfeiture pursuant to order filed                                     , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessment~ imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notilY the murt and United States Attorney of any material change in the defendant's economic circumstances.
                                                                               OCTOBER 15,2013
                                                                               Date of Imposition of Sentence



                                                                               HON.~.~EK
                                                                               UNITED STATES DISTRICT JUDGE



                                                                                                                                                I2CR0236-IEG
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AO 245B (CASD) (Rev, 1112) Judgment in a Criminal Case
           Sheet 2 - Imprisonment

                                                                                              Judgment - Page _ _2 _ of       4
 DEFENDANT: ULICES LOPEZ (35)
 CASE NUMBER: IlCR0236-IEG
                                                          IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         70 months as to each count to run concurrently.




    o    Sentence imposed pursuant to Title 8 USC Section 1326(b).
    [81 The court makes the following recommendations to the Bureau of Prisons:
         That the defendant participate in the Residential Drug Abuse Program (RDAP) and that he be designated to an institution in
         the Western Region of the United States.



    o    The defendant is remanded to the custody of the United States MarshaL

    o    The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.      Op.m.         on _ _ _ _ _ _ _ _ _ __

               as notified by the United States MarshaL

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        o betore -----------------------------------------------------------------
        o as notified by the United States Marshal.
          o    as notified by the Probation or Pretrial Services Office.


                                                                RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                                    to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                            UNITED STATES MARSHAL


                                                                      By ________~~~~~~~~~~------
                                                                                         DEPUTY UNITED STATES MARSHAL




                                                                                                                     12CR0236-IEG
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AO 245B (CASD) (Rev. 1/12) Judgment in a Criminal Case
           Sheet 3 -- Supervised ReJe~
                                                                                                              Judgment-Page - l - of _ _4:...-_ _
DEFENDANT: ULICES LOPEZ (35)                                                                          a
CASE NUMBER: 12CR0236-IEG
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shaH be on supervised release for a term of:
3 years as to each count to run concurrently.


         The defendant shal1 report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody ofthe Bureau of Prisons.
The defendant shaH not commit another federal, state or local crime.
For offenses committed on or after September J 3, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within IS days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          -­

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample frum the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of lOOO.pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall comply with tile requirements of the Sex Offender R.egistration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifYing offense. (Check if applicable.)
D The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fme
or restitution that remains unpaid at the commencement ofthe term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION
  I)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)     the defendant shall answer truthfully al1 inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;
 11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal
         record or personal history or characteristics and shall permit the probation officer to make such notifications and to confIrm the
         defendant's compliance with such notification requirement.

                                                                                                                                        12CR0236-IEG
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         AO 245B (CASDl (Rev. 1/12) Judgment in a Criminal Case
                     Sheet 4 -   Special Conditions
                                                                                                           Judgment--Page ~ of _ _4.:...-_ _
         DEFENDANT: UUCES LOPEZ (35)                                                                 D
         CASE NUMBER: 12CR0236-IEG




                                                  SPECIAL CONDITIONS OF SUPERVISION
181 Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
      reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
      search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
      this condition.

o officer
  If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
          within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
o     Not transport, harbor, or assist undocumented aliens.
o Not associate with undocumented aliens or alien smugglers.
o Not reenter the United States illegally.
o     Not enter the Republic of Mexico without written permission of the Court or probation officer.
181   Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
o     Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o     Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
o     Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
      psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
      and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
      information between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
      amount to be determined by the probation officer, based on the defendant's ability to pay.
o     Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
      officer, if directed.
o     Provide complete disclosure of personal and business financial records to the probation officer as requested.
o     Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
      probation officer.
o     Seek and maintain full time employment and/or schooling or a combination of both.
o     Resolve all outstanding warrants within               days.
D Complete         hours of community service in a program approved by the probation officer within
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
181 Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
      probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
      contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.

181 Defendant shall not associate with any known members nor shall he possess, wear, use or display or have in his possession any item
      associated with gang dress or any item prohibited by the probation officer, including but not limited to any insignia, emblem, badge, cap,
      hat, scarf, bandanna, or any article of clothing, hand sign or paraphernalia associated with membership or affiliation in any gang including,
      but not limited to, the Mexican Mafia or the Diablos street gang.




                                                                                                                                     12CR0236-IEG
